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 8                                  UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                      No. 2:17-cr-00207-MCE
12                     Plaintiff,
13          v.                                      RELATED CASE ORDER
14   DONALD EARL FREEMAN, et al.,
15                     Defendants.
16   UNITED STATES OF AMERICA,                      No. 2:17-cr-00212-JAM
17                     Plaintiff,
18          v.
19   RUVILA LIMA "AKA" RUBY, et al.,
20                     Defendants.
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22          The Court has received the Notice of Related Case filed on December 4, 2017.
23   Examination of the above-entitled civil actions reveals that these actions are related
24   within the meaning of Local Rule 123(a) (E.D. Cal. 1997). The actions involve many of
25   the same defendants and are based on the same or similar claims, the same property
26   transaction or event, similar questions of fact and the same questions of law, and would
27   therefore entail a substantial duplication of labor if heard by different judges.
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 1          Accordingly, the assignment of the matters to the same judge is likely to effect a
 2   substantial savings of judicial effort and is also likely to be convenient for the parties.
 3          The parties should be aware that relating the cases under Local Rule 123 merely
 4   has the result that both actions are assigned to the same judge; no consolidation of the
 5   action is effected. Under the regular practice of this court, related cases are generally
 6   assigned to the district judge and magistrate judge to whom the first filed action was
 7   assigned.
 8          IT IS THEREFORE ORDERED that the action denominated 2:17-cr-00212-JAM is
 9   reassigned to District Judge Morrison C. England, Jr. and for all further proceedings,

10   and any dates currently set in 2:17-cr-00212-JAM are hereby VACATED. Henceforth,
11   the caption on documents filed in the reassigned case shall be shown as 2:17-cr-00212-
12   MCE.
13          IT IS FURTHER ORDERED that the Clerk of the Court make appropriate
14   adjustment in the assignment of cases to compensate for this reassignment.
15          IT IS SO ORDERED.
16   Dated: December 11, 2017
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